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                                                                                        PILED IN DISTRICT COURT
                                                                                           OKLAfJOMA COUNTY

                        IN THE DISTRICT COURT OF OKLAHOMA COUNTY                                 AUG 2 5 2017
                                    STATE OF OKLAHOMA
                                                                                              RICK WARREN
                                                                                              COURT CLERK
    BOBBY GENE SMITH,                         )                                              26~~~--~~
                                              )
                   Plaintiff,                 )

    v.
                                              )
                                              )                     CASE NO:
                                                                                 CJ-2017-4859
                                              )
    STATE FARM MUTUAL AUTOMOBILE              )
    INSURANCE COMPANY, a Foreign Corporation, )
                                              )
                   Defendant.                 )

                                                  PETITION

              COMES NOW the Plaintiff, Bobby Gene Smith (hereinafter also referred to as Bobby

    Smith), by and through her attorney of record in this case, Christopher T. Yanda, and for her

    cause(s) of action against the Defendant State Fann Mutual Automobile Insurance Company

    (hereinafter also referred to as Defendant State Farm), alleges and states as follows:

                                       JURISDICTION AND VENUE

              1.      That the Plaintiff, Bobby Smith, is a resident of the State of Oklahoma and was a

    resident of Oklahoma on the date of the subject motor vehicle accident that occurred on September

    26th, 2016.

              2.      The incident giving rise to this cause of action occurred on September 26th, 2016, in

    Oklahoma County, Oklahoma.

              3.      That the Defendant State Fann Mutual Insurance Company is a foreign corporation

    doing business in the State of Oklahoma

              4. That this Court has jurisdiction and venue over these causes of action and the parties

    herein.
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                                                FACTS

        5.       That on or about September 26th, 2016, the Plaintiff, Bobby Smith, was lawfully

operating her motor vehicle traveling westbound on Britton Road in a prudent and cautious manner.

        6.       That suddenly and without warning the a vehicle operated by an unknown person

negligently drove into front driver's side of Plaintiff's vehicle and then fled the scene prior to police

arriving and without providing proper identification and insurance information.

        7.       That a witness followed the person that caused the accident and obtained the tag

number and provided it to the police but the tag number did not match the vehicle that was being

operated by the hit and run driver.

        8.       That as a result of the negligence of the unknown hit and run driver, Bobby Smith

did sustain injury to her person and damage to her vehicle.

        9.       That the unknown hit and run driver was negligent and said negligence was the

direct and sole cause of the motor vehicle accident.

        10.      That no act or omission on the part of Plaintiff Bobby Smith caused or contributed to

the accident taking place.

                                       CAUSES OF ACTION

                          BREACH OF CONTRACT AND BAD FAITII

        11.      Plaintiff, Bobby Smith, adopts and re-pleads herein by reference all allegations

contained herein, above and below this cause of action, and further alleges and states as follows:

        12.      At the time of the collision giving rise to this lawsuit, Plaintiff Bobby Smith had

paid premiums for, and was covered by, an automobile insurance policy sold to her by Defendant

State Fann.



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       13.      On the date of the accident at issue in this litigation, the policy of insurance sold to

Plaintiff Bobby Smith by Defendant State Fann included coverage for Uninsured Motorist

Coverage (herein also referred to as UM coverage).

       14.      That the facts surrounding the accident of September 26th, 2016 triggered the UM

coverage that Defendant State Fann sold to Plaintiff Bobby Smith.

       15.      That Plaintiff Bobby Smith made claim for Uninsured Motorist Benefits with

Defendant State Fann and Defendant State Fann has failed and refused to fully compensate Plaintiff

Bobby Gene Smith in accordance with the terms of the Uninsured Motorist Policy and established

Oklahoma Law and as a result has breached State Fann's contractual obligations and fiduciary

duties owed to Plaintiff Bobby Gene Smith.

       16.      That Defendant State Fann is responsible for handling Plaintiff's Underinsured

Motorist Claim in accordance with Oklahoma Law and in accordance with established fiduciary

duties of good faith and fair dealing and has breached the owed duty of good faith and fair dealing

including but not limited to one or more of the following ways:

       a        Engaging in an improper claims investigation;

       b.       Engaging in improper claim evaluation;

       c.       Improper delay of payment of Uninsured Motorist proceeds owed pursuant to the

                insurance contract and established Oklahoma Law;

       d.       Improper denial of payment of Uninsured Motorist Benefits owed pursuant to the

                insurance contract and established Oklahoma Law;

       e.       Under-evaluating or "low-balling" Plaintiff's Uninsured Motorist Claim;

       f.       Offering the Plaintiff less than the full value of her Uninsured Motorist Claim;



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        g.       Refusing to fully compensate Plaintiff in accordance with the tenns of the insurance

                 contra.ct and established Oklahoma Law;

        h.       Forcing Plaintiff to file suit to obtain benefits that she is owed.

        17.      The actions of Defendant State Fann constitute Bad Faith and are acts that are

oppressive, intentional, malicious, willful, wanton, and with utter and reckless disregard for their

duty to deal fairly with their insured and act in good faith entitling Plaintiff to punitive damages to

make an example of and to deter similar conduct by insurance companies opera.ting in the State of

Oklahoma.

        18.      Plaintiff has suffered damages from Defendant State Farm's breach of contra.ct and

bad faith conduct, including the deprivation of policy benefits, as well as incidental and

consequential damages.

        19.      As a result of Defendant State Farm's breach of contra.ct and Bad Faith conduct,

Plaintiff seeks damages including general damages and special damages and punitive damages

amounting to a sum in excess of Seventy Five Thousand Dollars ($75,000.00).

        23.      That Defendant State Fann is responsible for payment of general and special and

contractual damages as well as punitive damages in excess of Seventy Five Thousand Dollars

($75,000.00) for their breach of contra.ct and bad faith conduct.
        WHEREFORE, the Plaintiff, Bobby Smith, prays for judgment on her cause(s) of action

against Defendant State Fann for an award of actual damages, contractual damages, extra­

contractual damages, special and general compensatory damages and punitive damages in a sum in

excess of Seventy Five Thousand Dollars ($75,000.00), exclusive of costs, attorney's fees and

interest and together with awarding costs, attorney's fees and interest and such other affirmative

relief that this Court deems just and proper.

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                                        Attorney for Plaintiff Bobby Smith


              ATTORNEY LIEN CLAIMED
              JURY TRIAL DEMANDED




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